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    AO 106 (Rev. 04/10) Application for a Search Warrant



                                              UNITED STATES DISTRICT COURT                                                       5/19/2022
                                                                          for the
                                                                   District of Kansas                                             AA
In the Matter of the Search of:                                }
(Briefly describe the property to be searched or identify the  }                                            6095
                                                                                             Case No. 22-M-_________-GEB
person by name and address)
                                                               }
Two United States Postal Service Priority Mail Express parcels }
(Subject Parcel 1 and Subject Parcel 2), further described on }
Attachment A, and currently located at the US Postal Inspector
Wichita Domicile, 7117 West Harry Street, Wichita, Kansas
                                                      APPLICATION FOR A SEARCH WARRANT
            I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
    penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the property
    to be searched and give its location):
Two United States Postal Service Priority Mail Express parcels (Subject Parcel 1 and Subject Parcel 2), further
described on Attachment A, and currently located at the US Postal Inspector Wichita Domicile, 7117 West
Harry Street, Wichita, Kansas
    located in the DISTRICT OF KANSAS, there is now concealed (identify the person or describe the property to be seized):
   Items to be seized from the Subject Parcel include controlled substances; specifically marijuana, cocaine, methamphetamine, and heroin; any drug
    paraphernalia related to the possession or distribution of a controlled substance including narcotic packaging and US Currency or money orders.
               The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                   ✔❒ evidence of a crime;
                   ✔❒ contraband, fruits of crime, or other items illegally possessed;
                      ❒ property designed for use, intended for use, or used in committing a crime;
                      ✔
                       ❒ a person to be arrested or a person who is unlawfully restrained.
               The search is related to a violation of:
                   Code Section                                                         Offense Description
                21 USC 841(a)(1)                                Possess with the intent to distribute controlled substances
                21 USC 846                                      Attempts and Conspiracy to distribute controlled substances
                21 USC 843(b)                                   Unlawful use of a communication device to facilitate a drug trafficking crime
               The application is based on these facts:
                                                                                              See Attached Affidavit
               ❒ Continued on the attached sheet.
               ✔
                ❒ Delayed notice of      days (give exact ending date if more than 30 days:                                     ) is requested
                  under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                      Applicant’s signature

                                                                                Joshua Highfill, Postal Inspector, U.S. Postal Inspection Service
                                                                                                      Printed name and title

    Sworn to before me via FaceTime.

    Date:         5/19/2022
                                                                                                        Judge’s signature

    City and state: Wichita, Kansas                                           HONORABLE GWYNNE E. BIRZER, U.S. MAGISTRATE JUDGE
                                                                                                      Printed name and title
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                                           AFFIDAVIT


       I, Joshua Highfill, being first duly sworn on oath, state as follows:

                      AGENT INTRODUCTION AND BACKGROUND

       1.      I am a United States Postal Inspector with the United States Postal Inspection

Service and have been so employed since August 2015. I am currently assigned to the Wichita

Domicile of the Postal Inspection Service and have experience enforcing drug laws. This

affidavit is based on my own personal knowledge and information given to me by other Postal

Inspectors and other law enforcement personnel.

       2.      I received training from the United States Postal Inspection Service regarding

individuals using the United States Mail to transport controlled substances and proceeds from the

sale of controlled substances. I received training from the Kansas Law Enforcement Training

Center and while working for the Olathe, Kansas Police Department involving narcotic

investigation techniques, chemical field testing, and training in the identification and detection of

controlled substances. As a Police Officer and Special Agent with the United States Secret

Service, I was involved in illegal narcotic investigations to include narcotics being sent through

the mail.

       3.      The United States Postal Inspection Service has implemented a parcel profile

program targeting parcels mailed to and from areas of the United States which have been

identified by law enforcement as being source areas for the distribution of controlled substances.

The Wichita Domicile Postal Inspection Service program consists of reviewing postal service

records and a physical profile of Express and Priority Mail parcels and envelopes which have

originated from and/or have been received for delivery in the District of Kansas.
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                  ITEM TO BE SEARCHED AND ITEMS TO BE SEIZED

       4.      This affidavit is made in support of an application for a search warrant for two

United States Postal Service Priority Mail Express parcels. The first parcel bears tracking

number EI414258538US and is addressed to Bre Dykes 5048 Cedardale Avenue, Wichita,

Kansas 67216 with a return address of Samantha Garcia 1320 East Broadway Road, Mesa,

Arizona 85201, mailed on May 18, 2022 from the Post Office in Mesa, Arizona 85021. Further,

this parcel weighs approximately 6 pounds 14 ounces and bears $78.80 in postage (Subject

Parcel 1). The second parcel bears tracking number EJ821662973US and is addressed to Naunny

Hall 1524 North Oliver, Wichita, Kansas 67208 with a return address of Samantha Garcia 1320

East Broadway Road, Mesa, Arizona 85201, mailed on May 18, 2022 from the Post Office in

Mesa, Arizona 85021. Further, this parcel weighs approximately 6 pounds 14 ounces and bears

$78.80 in postage (Subject Parcel 2).

       5.      Items to be seized from Subject Parcel 1 and Subject Parcel 2 include controlled

substances; specifically but not limited to, marijuana, cocaine, methamphetamine, and heroin;

any drug paraphernalia related to the possession or distribution of a controlled substance

including narcotic packaging and United States Currency or money orders.

       6.      Subject Parcel 1 and Subject Parcel 2 are currently located at the United States

Postal Inspector Wichita Domicile, located at 7117 West Harry Street, Wichita, Kansas 67276,

which is in the District of Kansas.

                           OFFENSES UNDER INVESTIGATION

       7.      Based on my training and experience and on the facts set forth in this Affidavit, I

believe Subject Parcel 1 and Subject Parcel 2 contain evidence of violations of Title 21, United

States Code, Section 841(a)(1) (possession with intent to distribute a controlled substance); Title




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21, United States Code, Section 846 (attempts and conspiracies to do the same); and Section

843(b) (unlawful use of a communications facility to facilitate the commission of the above

narcotics offenses).

                                     PROBABLE CAUSE

       8.      On May 19, 2022, while profiling parcels Priority Express parcels at the Wichita

Postal Processing and Distribution Center located at 7117 West Harry Street, Wichita, Kansas, I

observed two United States Postal Service Priority Mail Express parcels. The first parcel bears

tracking number EI414258538US and is addressed to Bre Dykes 5048 Cedardale Avenue,

Wichita, Kansas 67216 with a return address of Samantha Garcia 1320 East Broadway Road,

Mesa, Arizona 85201, mailed on May 18, 2022 from the Post Office in Mesa, Arizona 85021.

Further, this parcel weighs approximately 6 pounds 14 ounces and bears $78.80 in postage paid

in cash (Subject Parcel 1). The second parcel bears tracking number EJ821662973US and is

addressed to Naunny Hall 1524 North Oliver, Wichita, Kansas 67208 with a return address of

Samantha Garcia 1320 East Broadway Road, Mesa, Arizona 85201, mailed on May 18, 2022

from the Post Office in Mesa, Arizona 85021. Further, this parcel weighs approximately 8

pounds 8 ounces and bears $91.75 in postage paid cash (Subject Parcel 2).

       9.      I observed the parcels were very similar. Both parcels were in the same size

United States Postal Service Priority Mail Express box and were coming from the same sender in

Mesa, Arizona. Furthermore, the sender shipped the parcels from the same Post Office in Mesa,

Arizona at the same time.

       10.     Based on my training and experience I know there are common characteristics

used by individuals who traffic in illegal controlled substances via the United States Mail. The

Subject Parcel contained some of these characteristics including:




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               a.      The Subject Parcels were mailed from a known illegal drug source

                       distribution area (i.e., Mesa, Arizona).

               b.      The postage was paid for with cash.

       11.     I queried Subject Parcel 1 and Subject Parcel 2’s return address information,

Samantha Garcia 1320 East Broadway Road, Mesa, Arizona 85201 and found Samantha Garcia

isn’t associated to the address. Based upon my experience investigating narcotic traffickers, I

know they often use false or fictitious names on parcel labels to avoid being identified by law

enforcement authorities.

       12.     On May 19, 2022, an exterior odor sniff of the Subject Parcel was conducted at

the Wichita P&DC located at 7117 West Harry Street, Wichita, Kansas. At approximately 8:28

am, Wichita Police Detective Dan Weidner and his certified narcotic canine, Sol, searched the

area. Sol conducted a sniff of the area and then sat facing both of the Subject Parcels individually

as he worked the room. It should be noted the Subject Parcels were spread out on opposite sides

of the room. Detective Weidner stated Sol’s actions indicated he had alerted to the Subject

Parcels as containing a narcotic odor. “Under our case law, a random dog sniff is not a search

for Fourth Amendment purposes and a positive dog alert gives officers probable cause to

search.” United States v. Parada, 577 F.3d 1275, 1281 (10th Cir. 2009).

       13.     According to Detective Weidner, he has served as a single purpose drug detection

dog handler with PSD Sol since February 2019. Weidner and Sol completed the WPD K9 basic

course and were certified as a drug detector dog team. Weidner and Sol are certified in the

detection of marijuana, methamphetamine, cocaine, and heroin. Weidner and Sol maintain

current detector dog team certification and attend regular weekly maintenance training. This

training averages 12 hours per month.




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                                         CONCLUSION

       14.     Therefore, based on these facts, I believe there is probable cause to believe that

the Subject Parcels contain evidence of a crime, including Title 21, United States Code, Section

841, and/or other illegal contraband (including actual narcotics), in violation of Title 21, United

States Code, Section 841(a)(1), (possession with intent to distribute a controlled substance); Title

21, United States Code, Section 846 (attempts and conspiracies to do the same); and Title 21,

United States Code, Section 843(b) (unlawful use of a communications facility to facilitate the

commission of the above narcotics offenses).

       FURTHER YOUR AFFIANT SAYETH NOT.



                                               _____________________________________
                                               JOSHUA HIGHFILL
                                               United States Postal Inspector
                                               United States Postal Inspection Service

Sworn to and subscribed to me via FaceTime this 19th day of May, 2022.



                                               ___________________________________
                                               HONORABLE GWYNNE E. BIRZER
                                               United States Magistrate Judge




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                                     ATTACHMENT A

       The items to be search are two United States Postal Service Priority Mail Express parcels.

The first parcel bears tracking number EI414258538US and is addressed to Bre Dykes 5048

Cedardale Avenue, Wichita, Kansas 67216 with a return address of Samantha Garcia 1320 East

Broadway Road, Mesa, Arizona 85201, mailed on May 18, 2022 from the Post Office in Mesa,

Arizona 85021. Further, this parcel weighs approximately 6 pounds 14 ounces and bears $78.80

in postage (Subject Parcel 1). The second parcel bears tracking number EJ821662973US and is

addressed to Naunny Hall 1524 North Oliver, Wichita, Kansas 67208 with a return address of

Samantha Garcia 1320 East Broadway Road, Mesa, Arizona 85201, mailed on May 18, 2022

from the Post Office in Mesa, Arizona 85021. Further, this parcel weighs approximately 8

pounds 8 ounces and bears $91.75 in postage (Subject Parcel 2). The Subject Parcel is currently

located at 7117 West Harry Street, Wichita, Kansas 67276.




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